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8                          UNITED STATES DISTRICT COURT
9                   FOR THE CENTRAL DISTRICT OF CALIFORNIA
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                                              )
11     NEHEMIAH KONG,                         )     Case No. EDCV 18-2112-MWF
                                              )     (FFMx)
12                           Plaintiff,       )
                                              )     SUMMARY JUDGMENT AGAINST
13           vs.                              )     DEFENDANTS MARGARET M.
                                              )     HARRIS CORPORATION AND
14     MARGARET M. HARRIS                     )     RESEDA DENTAL OFFICE OF
       CORPORATION, a California              )     ARAM YELIZYAN AND ARAM
15     Corporation; RESEDA DENTAL             )     ARAKELYAN, INC.
       OFFICE OF ARAM YELIZYAN AND )
16     ARAM ARAKELYAN, INC., a                )
       California Corporation; and Does 1-10, )
17                                            )
                             Defendants.      )
18                                            )
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21           The above-entitled matter came before the Honorable Michael W.
22     Fitzgerald, United States District Judge, presiding in Courtroom 5A of the above-
23     entitled Court, pursuant to Plaintiff Nehemiah Kong’s Motion for Summary
24     Judgment (the “Motion”). (Docket No. 27).
25           Through his Complaint, Plaintiff brought two claims for relief based on a
26     violation of the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. §
27     12101 et seq. and a violation of the California’s Unruh Civil Rights Act (the
28     “Unruh Act”), Cal. Civ. Code §§ 51-53. (Docket No. 1). In an Order dated June
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1      19, 2019, the Court granted summary adjudication in favor of Plaintiff as to the
2      ADA claim and the Unruh Act claim based on the lack of van accessible parking.
3      (Docket No. 136). In an Order dated July 9, 2019, the Court granted summary
4      adjudication in favor of Defendants on grounds of mootness as to the same two
5      claims based on the transaction counter. (Docket No. 34).
6            Now, therefore, pursuant to Rules 56 and 58 of the Federal Rules of Civil
7      Procedure, IT IS HEREBY ORDERED, ADJUDGED AND DECREED that
8      judgment be entered as follows:
9            1.    Defendants shall bring the premises of 18554 Sherman Way, Reseda,
10                 California into compliance with the Americans with Disabilities Act
11                 Accessibility Guidelines by providing a compliant accessible parking
12                 space; and
13           2.    Defendants shall be jointly and severally liable to Plaintiff in the total
14                 amount of $4,000 for statutory damages under the Unruh Act.
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             3.    Defendants shall be jointly and severally liable to Plaintiff for
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                   reasonable attorneys’ fees and costs pursuant to 42 U.S.C. § 12205
17
                   and the Unruh Act.
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       Dated: October 31, 2019           ______________________________
21                                            MICHAEL W. FITZGERALD
22                                            United States District Judge
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